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15
                                 UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
18
                                        EUREKA DIVISION
19
20
      Margaret Murphy, individually, and              CASE NO.
21    on behalf of those similarly situated,
                                                      CLASS ACTION COMPLAINT
22                         Plaintiff,
                                                      Demand for Jury Trial
23
             v.
24
      UNILEVER UNITED STATES, INC.,
25
                           Defendant.
26
27
28
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                                       Plaintiff Margaret Murphy (“Plaintiff”) brings this action on behalf of herself,
                            1
                            2    and all others similarly situated against Defendant UNILEVER UNITED STATES,

                            3    INC. (“Unilever” or “Defendant”) for the manufacture, distribution, marketing, and
                            4
                                 sale of THE LAUNDRESS brand products (the “Product” or “Products”).1 Plaintiff
                            5
                                 makes the following allegations pursuant to the investigation of their counsel and
                            6
                                 based upon information and belief, except as to the allegations specifically pertaining
                            7
                            8    to themselves, which is based on personal knowledge:

                            9
                                                                 NATURE OF ACTION
                            10
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                            11         1.     This is a class action complaint against Defendant for the manufacture,
                            12
                                 distribution, marketing, and sale of the Products, that based on Defendant’s own
                            13
                                 admission suffer from identical deceptive conduct concerning the inclusion of deadly
                            14
                            15   bacteria. Despite Defendant’s widespread marketing campaign that the Products are

                            16   non-toxic and present better-for-you alternatives to other cleaners, the Products

                            17   contain highly toxic, undisclosed ingredients. Specifically, the Products contain
                            18
                                 undisclosed bacteria that have fatal consequences. Household cleaning products that
                            19
                                 pose such a hazard are unreasonably dangerous compared to the utility of the
                            20
                            21   Products. This deception rendered the Products unsuitable for their principal and

                            22   intended purpose. Further, had Plaintiff and Class Members been aware of the

                            23   presence of fatal bacteria, they would not have purchased the Products.
                            24
                                       2.     With the sale of every Product, Defendant delivered a biological weapon
                            25
                                 into the home of every Class Member.
                            26
                            27
                                 1 At the time of this filing, Exhibit A includes the LAUNDRESS products that are
                            28   included in this definition. This definition is not exhaustive, and shall include all of
                                 Defendant’s products that are similarly misrepresented and defective.
                                                                              –1–
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                                       3.     Instead of subtracting bacteria, each Product adds bacteria which can
                            1
                            2    multiply within a household because it is – as one Oxford researcher describes – a

                            3    superbug that is antibiotic resistant.2
                            4
                                       4.     The Products contain a bacterium, Pseudomonas, that has a mortality
                            5
                                 rate of 39%3 and has caused multiple fatal outbreaks in infant wards at hospitals
                            6
                                 throughout the country.4
                            7
                            8          5.     On November 17, 2022, Defendant first revealed that THE

                            9    LAUNDRESS brand’s entire product line contains harmful, toxic bacteria.
                            10
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                                       6.     In fact, the toxin has been present in all of the Products for years.
                            11
                                       7.     Unfortunately, the toxin permeated – unknowingly to consumers –
                            12
                            13   throughout all of the Products which led (and currently leads) to unneeded physical

                            14   injury and economic harm.

                            15         8.     Plaintiff and Class Members are further harmed because once silk,
                            16
                                 cashmere, and wool are contaminated by the bacterium, these garments may be
                            17
                            18
                            19
                            20   2 University of Oxford, Common drug-resistant superbug develops fast resistance to
                                 'last resort' antibiotic (June 7, 2022), https://www.ox.ac.uk/news/2022-06-07-common-
                            21   drug-resistant-superbug-develops-fast-resistance-last-resort-antibiotic.
                            22
                                 3Cheol-In Kang, Sung-Han Kim, Hong-Bin Kim, Sang-Won Park, Young-Ju Choe,
                            23   Myoung-don Oh, Eui-Chong Kim, Kang-Won Choe, Pseudomonas aeruginosa
                                 Bacteremia: Risk Factors for Mortality and Influence of Delayed Receipt of Effective
                            24   Antimicrobial Therapy on Clinical Outcome, CLINICAL INFECTIOUS DISEASES, Volume
                                 37, Issue 6, 15 September 2003, Pages 745–751, https://doi.org/10.1086/377200.
                            25
                                 4 Justin Moyer, What we know about Pseudomonas, the potentially deadly bacteria
                            26   found at a Maryland hospital, THE WASHINGTON POST ((Aug. 9, 2016),
                                 https://www.washingtonpost.com/news/local/wp/2016/08/09/what-we-know-about-
                            27   pseudomonas-the-potentially-deadly-bacteria-found-at-a-md-hospital/; Aimee Ortiz,
                                 Deaths of 3 Infants Traced to Contaminated Equipment, Hospital Says, THE NEW
                            28   YORK TIMES (Nov. 8, 2019), https://www.nytimes.com/2019/11/08/us/pennsylvania-
                                 infant-deaths-breast-milk.html.
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                                 destroyed because they cannot be exposed to hot water, intense heat, bleach or
                            1
                            2    hospital grade disinfectants which are necessary to kill the bacteria.

                            3          9.     In other words, a favorite silk or cashmere garment once owned by a
                            4
                                 parent or grandparent could be forever ruined simply because a Class Member tried
                            5
                                 to clean it with a “premium,” “non-toxic” product.
                            6
                                       10.    Because Defendant continues to reap its spoils, and gives the false
                            7
                            8    impression that the Products are safe, Defendant exposes this risk to millions of

                            9    Americans every day while also knowingly selling consumers defective Products that
                            10
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                                 expose every Class Members’ household to great harm.
                            11
                                       11.    In fact, once the truth is exposed the Products are, at best, worthless.
                            12
                            13         12.    Reasonable consumers, like Plaintiff, purchase the Products to subtract
                            14   bacteria rather than adding harmful, toxic bacteria that can cause “serious
                            15   infections,” “severe tissue damage,”5 death, “pneumonia or septicaemia.”6
                            16
                            17         13.    Plaintiff brings claims against Defendant individually and on behalf of a

                            18   class of all other similarly situated purchasers of the Products for (i) violations of the

                            19   consumer protection statutes for states included in a Multi-State Consumer Class; (ii)
                            20
                                 violations of California’s Unfair Competition Law; (iii) violation of California’s False
                            21
                                 Advertising Law; (iv) violation of California’s Consumer Legal Remedies Act; (v)
                            22
                            23
                            24
                            25   5Sabir R, Alvi SF, Fawwad A, Basit A. Antibiogram of Pseudomonas aeruginosa and
                                 Methicillin-resistant Staphylococcus aureus in patients with diabetes. PAK J MED SCI.
                            26   2014 Jul;30(4):814-8. doi: 10.12669/pjms.304.4755. PMID: 25097523; PMCID:
                                 PMC4121704.
                            27
                                 6ACTION MEDICAL RESEARCH, Secrets of a 'superbug': what makes Pseudomonas
                            28   bacteria so deadly? (Oct. 6, 2007), https://action.org.uk/research/secrets-superbug-
                                 what-makes-pseudomonas-bacteria-so-deadly.
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                                 breach of implied warranty; (vi) violation of the Magnuson-Moss Warranty Act; and
                            1
                            2    (vii) unjust enrichment.

                            3
                                                                          PARTIES
                            4          14.    Plaintiff is, and at all times relevant to this action has been, a resident
                            5
                                 of California and a domiciliary of California.
                            6
                            7                 a.     Within the past two years, Plaintiff made several purchases of

                            8    Defendant’s Products from e-commerce stores, including but not limited to

                            9    FabFitFun, that shipped products to her residence in California. The Products

                            10   purchased by Plaintiff included, but not limited to, the Delicate Wash, the Crease
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                            11   Relief spray, and the Signature Detergent. Prior to purchasing THE LAUNDRESS

                            12   Products, Plaintiff saw and relied on the representation and warranty that the

                            13   product would be a “non-toxic” and “better for you” alternatives to other cleaning

                            14   methods like dry cleaning. Plaintiff understood these representations to mean that

                            15   the Products did not contain harsh, harmful, or toxic ingredients. At the time of

                            16   purchase, Plaintiff did not expect that the cleaning supplies purchased would contain

                            17   a bacterium with deadly consequences. Plaintiff purchased the Products at a

                            18   substantial price premium, and would not have purchased the products had she

                            19   known that the marketing she relied on was false, misleading, deceptive and unfair

                            20   or that the Products contained potentially deadly bacteria. Plaintiff would purchase

                            21   the Products again in the future if Defendant conformed the Products to their “non-

                            22   toxic” marketing.

                            23                b.     Plaintiff purchased the Products because she believed they were

                            24   fit for use as non-toxic cleaners and safe to be used on delicate clothing in lieu of

                            25   having to dry clean expensive clothing. However, the Products that Plaintiff

                            26   purchased were not fit for use due to the presence of toxic bacteria in the Products.

                            27   Ms. Murphy’s belief that the Products were fit to be used as non-toxic cleaning

                            28

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                                                                   CLASS ACTION COMPLAINT
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                            1    products formed the basis of the bargain, and Ms. Murphy would not have purchased
                            2    the Products.
                            3                    c.    The Products that Plaintiff purchased and used caused Plaintiff
                            4    and members of her household to suffer from respiratory infections, skin infections,
                            5    rashes, and hives.
                            6                    d.    Plaintiff suffered economic injury from the Products’ defect
                            7    because she purchased an item that was worth less than what had been represented
                            8    to her.
                                           15.   Defendant is a Delaware corporation with its principal place of business
                            9
                            10   in Englewood Cliffs, New Jersey. Defendant sells the Products throughout the United
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                            11   States, including in the state of California.
                            12
                                           16.   Defendant is part of the Unilever Group, an international consumer
                            13
                                 goods company that is comprised of two parent companies, Unilever N.V. in
                            14
                                 Rotterdam, Netherlands and Unilever PLC in London, United Kingdom. The
                            15
                            16   Unilever Group operates in the United States under its subsidiary, Unilever United

                            17   States, Inc., which operates as a single economic entity.
                            18
                            19
                                                                 JURISDICTION AND VENUE
                            20
                            21             17.   This Court has subject matter jurisdiction over this action pursuant to
                            22   28 U.S.C. § 1332(d) because there are more than 100 class members and the
                            23   aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees, and
                            24   costs, and at least one Class member is a citizen of a state different from Defendant.
                            25             18.   This Court has personal jurisdiction over Defendant. Defendant
                            26   purposefully avails itself of the California consumer market and distributes the
                            27   Products to many locations within this District and hundreds of retail locations
                            28

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                            1    throughout the State of California, where the Products are purchased by thousands of
                            2    consumers every day.
                            3          19.    Venue is proper in this District under 28 U.S.C. § 1391(a). Plaintiff’s
                            4    purchases of Defendant’s Products, substantial acts in furtherance of the alleged
                            5    improper conduct, including the dissemination of false and misleading information
                            6    regarding the nature, quality, and/or ingredients of the Products, occurred within this
                            7    District and the Defendant conducts business in this District.
                            8
                                                            DIVISIONAL ASSIGNMENT
                            9
                            10         20.    Pursuant to Civil Local Rule 3-2(c-d), a substantial part of the events
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                            11   giving rise to the claims arose in Lake County, and this action should be assigned to
                            12
                                 the Eureka Division.
                            13
                                                        COMMON FACTUAL ALLEGATIONS
                            14
                            15         A.     Defendant Manufactures, Markets, Distributes and Sells the
                                              Products
                            16
                                       21.    Defendant manufactures, markets, distributes, and sells the Products
                            17
                                 throughout the United States.
                            18
                                       22.    In January 2019, Defendant acquired the “premium eco-friendly line of
                            19
                                 detergent, fabric care, and home cleaning products”7 for $100,000,000.8
                            20
                                       23.    Millions of units containing toxic bacteria were sold throughout the
                            21
                                 United States to consumers in all fifty states and Washington, D.C. at premium
                            22
                                 prices compared to competing brands. For example, one gallon of its Signature
                            23
                                 Detergent costs approximately $94 per unit.
                            24
                            25   7UNILEVER, Unilever acquires The Laundress (Jan. 27, 2019),
                                 https://www.unilever.com/news/press-and-media/press-releases/2019/unilever-
                            26   acquires-the-laundress/.

                            27   8Elizabeth Segran, The Laundress founders come clean about why they sold to
                                 Unilever, FAST COMPANY (Jan. 29, 2019),
                            28   https://www.fastcompany.com/90298157/exclusive-laundress-founders-gwen-whiting-
                                 and-lindsey-boyd-on-why-they-sold-to-unilever.
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                            17         24.    Defendant markets the Products through a widespread campaign
                            18   focused on premium consumers that demand non-toxic, eco-friendly, and green
                            19   cleaning products.
                            20         B.     Defendant’s Universal Branding and Marketing Campaigns
                                              Emphasize the Non-Toxic Nature of the Products.
                            21
                                       25.    Defendant positions its Products as premium, non-toxic alternatives to
                            22
                                 competing products through a widespread marketing campaign.
                            23
                                       26.    THE LAUNDRESS is “known for its luxury, non-toxic and cruelty-free
                            24
                                 soaps and detergents….”9
                            25
                            26
                            27   9Lauren Silver, Luxury lifestyle brand The Laundress tells customers to stop using its
                                 products, FOX13 (Nov. 21, 2022),
                            28   https://www.fox13memphis.com/news/trending/luxury-lifestyle-brand-laundress-tells-
                                 customers-stop-using-its-products/FLMEKMRPQZG55AO4UHPLKEDO34/
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                            1           27.   For example, Defendant routinely positions its Products as a toxic-free,
                            2    better-for-you alternative to dry cleaning:
                                                     1. “Dry clean only? No way. You've got this, and we can help.
                            3                        Nobody relishes the idea of wearing highly toxic dry cleaning
                                                     chemicals against their skin along with their most delicate
                            4                        clothing items. Now there's a solution that is better for both
                                                     you and the environment, all without ruining your treasured
                            5                        delicates. Washing delicates is easier than ever with Delicate
                                                     Wash from The Laundress. It smells divine and easily removes
                            6                        odors while cleaning and preserving delicate fabrics. Visit our
                                                     Clean Talk Blog for instructions on how to wash specific delicate
                            7                        items.”10
                            8                       2. “Of course, your delicates are not usually the items to wear once
                                                    and toss in the laundry. If you want to stay fresh between
                            9                       washing delicate items, try our non-toxic, biodegradable, and
                                                    delightfully fragrant Delicate Spray. It's perfect for silks, knits,
                            10                      and undergarments. So keep that favorite silk Hermes scarf in the
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                                                    rotation a bit longer before your next hand-washing adventure.
                            11                      This fabric spray makes a great gift, too. You can even use it to
                                                    freshen bed linens, pillows, and furniture around the house.
                            12                      Herbal and citrus notes combine with amber, bergamot, lavender,
                                                    and musk to make everyone's nose a little happier.”11
                            13
                                                    3. “Eliminating the dry cleaner was one of our first missions in
                            14                      creating this line of laundry and fabric care products. And lucky
                                                    for you, we've accomplished our goal. Use this kit to safely clean
                            15                      and preserve woolens, delicates, synthetics, and more without
                                                    the toxins and extra cost of the dry cleaner!”12
                            16
                                                    4. “Ideal for travel or stashing in your bag or car, this handy kit
                            17                      washes, freshens, and removes stains on silk, delicates, woolens,
                                                    synthetics and more without the toxins and extra cost of the dry
                            18                      cleaner. Airplane-friendly and comes housed in a canvas zip
                                                    bag.”13
                            19
                            20
                            21          28.   These representations are omnipresent in all of Defendant’s marketing
                            22   efforts.
                            23
                                 10The Laundress, Gentle, Yet Powerful Cleaning for Your Delicate Items,
                            24   https://www.thelaundress.com/blogs/clean-talk-blog/washing-delicates (emphasis
                                 added).
                            25
                            26
                                 11Id. (emphasis added).
                                 12The Laundress, Dry Cleaning Detox Kit Product Page,
                            27   https://www.thelaundress.com/products/dry-cleaning-detox-kit (emphasis added).

                            28   13The Laundress, Dry Clean on the Go Kit Product Page,
                                 https://www.thelaundress.com/products/dry-clean-on-the-go-kit (emphasis added).
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                            1          29.    For example, in a video entitled “Why You Should Rethink Dry
                            2    Cleaning” on the brand’s official website, co-founder Lindsey Boyd describes the toxic
                            3    chemicals that occur in dry cleaning and why THE LAUNDRESS is a “better for you”
                            4    alternative. She describes the Products as “non-toxic” and containing “the best
                            5    ingredients.”14
                            6          30.    Defendant markets the Products through social media and uses
                            7    hashtags like #greencleaning, #plantderived, and #ecoconscious to further the
                            8    message that its Products are non-toxic, “good for you,” and offer an environmentally-
                            9    focused cleaning experience.
                            10         31.
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                            19         32.    Defendant’s marketing campaigns have been successful at cultivating a
                            20   loyal customer base of consumers that seek non-toxic cleaning products and are
                            21   willing to pay thousands of dollars to obtain non-toxic cleaning products.
                            22         33.    For example, customers will fill entire shelves at home with the
                            23   Products.
                            24
                            25
                            26
                            27
                                 14The Laundress, Why You Should Rethink Your Next Trip to the Dry Cleaner,
                            28   https://www.thelaundress.com/blogs/clean-talk-blog/why-you-should-rethink-your-
                                 next-trip-to-the-dry-cleaner.
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                            9             34.    Class Members represent this loyal customer base that was deceived
                            10   into buying “non-toxic” Products that actually contained undisclosed harmful toxins
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                            11   with fatal consequences.
                            12
                            13            C.     The Product Contains Harmful, Toxic Ingredients That Were Not
                                                 Disclosed at the Time of Sale.
                            14
                                          35.    The Products contain toxic ingredients that were not disclosed on the
                            15
                                 Products’ packaging nor in any other medium by Defendant prior to purchase by
                            16
                                 Plaintiff and the Class.
                            17
                                          36.    The Products contain harmful bacteria, including Pseudomonas.
                            18
                                          37.    Pseudomonas is a “superbug” because, as Dr. Craig MacLean from the
                            19
                                 University of Oxford describes, it “mutates at an incredibly high rate, allowing [the]
                            20
                                 bacteria to quickly evolve antibiotic resistance.”15
                            21
                                          38.    Pseudomonas “frequently cause[] serious infections” and can “cause
                            22
                                 severe tissue damage.”16
                            23
                                          39.    “[I]nfection is severe and life-threatening, leading to pneumonia or
                            24
                                 septicaemia.”17
                            25
                            26   15   University of Oxford, supra note 2.
                            27
                                 16   Sabir, et. al., supra note 5.
                            28
                                 17   University of Oxford, supra note 2.
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                            1             40.    Exposure to the bacteria can be fatal, and in 2016 it caused a deadly
                            2    outbreak that killed multiple infants at a Maryland hospital.18
                            3             41.    In 2019, an outbreak of the bacteria at a Pennsylvania hospital also took
                            4    the lives of multiple infants.19
                            5             42.    Pseudomonas can kill people “within 24 hours” of exposure.20
                            6             43.    In one study of Pseudomonas, the bacteria displayed a 30-day mortality
                            7    rate of 39%.21
                            8             44.    Defendant has, or should have, knowledge of the contents of the
                            9    Products that it sends into homes throughout the country.
                            10            45.    The presence of toxins was not known by Plaintiff or Class Members
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                            11   prior to purchase.
                            12            46.    The presence of harmful bacteria was a material element in Plaintiff’s
                            13   and Class Members’ decision to purchase the Products. Prior to purchase, Defendant
                            14   failed to inform Plaintiff and Class Members that the Products contained a bacterium
                            15   with fatal consequences. Only recently in November 2022, and after Class Members
                            16   purchased the Products, Defendant first revealed the presence of the bacteria in the
                            17   Products.
                            18            47.    Had Plaintiff and Class Members known of the inclusion of the
                            19   undisclosed bacteria, they would not have purchased the Products.
                            20            48.    Thus, the Products are worthless.
                            21
                            22
                            23
                            24   18   Moyer, supra note 4.
                            25
                                 19   Ortiz, supra note 4.
                            26
                            27
                                 20   ACTION MEDICAL RESEARCH, supra note 6.

                            28   21   Kang, et. al., supra note 3.

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                                       D.     The Products Harm People.
                            1
                            2          49.    As described above, the Products present a great danger to the public.

                            3          50.    The Products have harmed people and continue to pose a threat to the
                            4
                                 public.
                            5
                            6          51.    The Products that Plaintiff purchased and used caused Plaintiff and

                            7    members of her household to suffer from respiratory infections, skin infections,

                            8    rashes, and hives.

                            9          52.    With the resiliency of the “superbug,” long-term consequences are

                            10   unknown but expected given the long timeline that the bacterium colonizes.
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                            11         53.    Other Class Members have had similar experiences:

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                                       54.    The Products create undue risk, danger, and harm throughout all
                            11
                            12   aspects of everyday life. This danger is ever-present. Thus, Defendant’s inclusion of

                            13   toxins removes all utility from the Products.
                            14
                                       E.     Defendant’s Exclusive Pre-Sale Knowledge of the Toxins
                            15
                                       55.    Defendant had exclusive knowledge of the Products’ contents prior to
                            16
                                 sale to consumers.
                            17
                                       56.    Plaintiff and Class Members were unable to test or observe the
                            18
                                 ingredients in the Products prior to purchase.
                            19
                                       57.    Defendant knew or should have known that the Products purported to
                            20
                                 be non-toxic contained toxins.
                            21
                                       58.    Defendant knew or should have known that the Products contained
                            22
                                 bacteria that can have fatal consequences.
                            23
                                       F.     Plaintiff and Class Members Have Suffered Economic Injury
                            24
                                       59.    Plaintiff and the Class Members reasonably relied to their detriment on
                            25
                                 Defendant’s deceptive and misleading representations and omissions concerning the
                            26
                                 Products.
                            27
                                       60.    Defendant's false, misleading, and deceptive misrepresentations and
                            28
                                 omissions are likely to continue to deceive and mislead reasonable consumers and the
                                                                           – 13 –
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                            1    general public, as they have already deceived and misled Plaintiff and the Class
                            2    Members.
                            3           61.      In making the false, misleading, and deceptive representations and
                            4    omissions described herein, Defendant knew and intended that consumers would pay
                            5    a premium for Products under the – false – belief that the Products were safe and
                            6    free of toxins.
                            7           62.      As an immediate, direct, and proximate result of Defendant's false,
                            8    misleading, and deceptive representations and omissions, Defendant injured the
                            9    Plaintiff and the Class Members in that they:
                            10                a. Paid a sum of money for Products that were not what Defendant
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                            11                   represented;
                            12                b. Paid a premium price for Products that were not what Defendant
                            13                   represented;
                            14                c. Were deprived of the benefit of the bargain because the Products they
                            15                   purchased were different from what Defendant warranted; and
                            16                d. Were deprived of the benefit of the bargain because the Products they
                            17                   purchased had less value than what Defendant represented.
                            18          63.      Plaintiff and Class Members were additionally harmed by damage to
                            19   clothing, washing machines, and other property from exposure to the undisclosed
                            20   bacteria as well as the countless hours to attempt to clean the contaminated clothing.
                            21
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                                                                             – 14 –
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                            1
                            2          64.    The scope of the damage to clothing is intensified because of the
                            3    bacterium’s long colonization period and its durability. Some Class Members have
                            4    washed thousands of garments with the Products.
                            5          65.    Many garments can only be washed with cold water and can only be
                            6    hung to dry without the use of heat. For many, these garments are ruined because
                            7    the bacteria cannot be removed.
                            8          66.    Madeline Miller, Product Specialist at THE LAUNDRESS understands
                            9    that "[c]ertain delicate natural fibers such as silk, cashmere and wool are particularly
                            10   sensitive to laundering methods, and cannot be exposed to harsh routines that
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                            11   include hot water and high spin."22
                            12         67.    In other words, many garments made from silk, cashmere, and wool that
                            13   are contaminated by the bacterium may never be remedied because hot water cannot
                            14   be used on these fabrics.
                            15         68.    Had Defendant not made the false, misleading, and deceptive
                            16   representations and omissions, Plaintiff and the Class Members would not have been
                            17   willing to pay the same amount for the Products they purchased, and, consequently,
                            18   Plaintiff and the Class Members would not have been willing to purchase the
                            19   Products.
                            20         69.    Plaintiff and the Class Members paid for Products that were believed to
                            21   be safe and free of the Defect but received Products that were unsafe and contained
                            22   toxins. The products Plaintiff and the Class Members received were worth less than
                            23   the Products for which they paid.
                            24         70.    Plaintiff and Class Members paid a premium for the Products because
                            25   they relied on Defendant’s marketing that the Products were non-toxic.
                            26
                            27
                                 22Stephanie Osmanski, A Comprehensive Guide to the Laundry Room: What Do
                            28   Those Common Laundry Symbols Actually Mean?, PARADE (Oct. 19, 2022),
                                 https://parade.com/living/laundry-symbols.
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                            11
                                       71.    Plaintiff and the Class Members all paid money for the Products.
                            12
                                 However, Plaintiff and the Class Members did not obtain the full value of the
                            13
                                 advertised Products due to Defendant's misrepresentations and omissions. Plaintiff
                            14
                                 and the Class Members purchased, purchased more of, and/or paid more for, the
                            15
                                 Products than they would have had they known the truth about the Products.
                            16
                                 Consequently, Plaintiff and the Class Members have suffered injury in fact and lost
                            17
                                 money as a result of Defendant's wrongful conduct.
                            18
                            19
                                                           CLASS ACTION ALLEGATIONS
                            20         72.    Plaintiff brings this action as a class action pursuant to Federal Rule of
                            21
                                 Civil Procedure 23 on behalf of themselves, on behalf of all others similarly situated,
                            22
                                 and as a member of the Classes defined as follows (collectively, the “Classes” or
                            23
                            24   “Class”):

                            25                a. Multi-State Consumer Class: All persons in the States of California,
                            26                   Florida, Illinois, Massachusetts, Minnesota, Missouri, New Jersey,
                            27
                            28

                                                                           – 16 –
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                                                    New York, Pennsylvania, Oregon, and Washington who purchased
                            1
                            2                       the Products.23

                            3                  b.   California Class: All persons who purchased Defendant’s Product
                            4
                                                    within the State of California and within the applicable statute of
                            5
                                                    limitations.
                            6
                                               c.   Nationwide Class: All persons who purchased Defendant’s Product
                            7
                            8                       within the United States and within the applicable statute of

                            9                       limitations period.
                            10
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                                        73.    Excluded from the Class are Defendant, their parents, subsidiaries,
                            11
                                 affiliates, officers, and directors, those who purchased the Products for resale, all
                            12
                            13   persons who make a timely election to be excluded from the Class, the judge to whom

                            14   the case is assigned and any immediate family members thereof.

                            15          74.    The members of the Class are so numerous that joinder of all Class
                            16
                                 Members is impracticable. Defendant has sold, at a minimum, millions of units of the
                            17
                                 Products to Class Members.
                            18
                            19          75.    There is a well-defined community of interest in the questions of law and

                            20   fact involved in this case. Questions of law and fact common to the members of the

                            21   putative classes that predominate over questions that may affect individual Class
                            22
                                 Members include, but are not limited to the following:
                            23
                            24
                            25   23The States in the Multi-State Consumer Class are limited to those States with similar
                                 consumer protection laws under the facts of this case: California (Cal. Bus. & Prof. Code §
                            26   17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.); Illinois (815 ILCS 505/1, et seq.);
                                 Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.); Michigan (Mich. Comp. Laws §
                            27   445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.); Missouri (Mo. Rev. Stat.
                                 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York (N.Y. Gen. Bus. Law
                            28   § 349, et seq.); Pennsylvania (73 Pa. Stat. Ann. §§ 201-1 et seq.); Oregon (Or. Rev. Stat.
                                 §§ 646.605, et seq.); and Washington (Wash Rev. Code § 19.86.010, et seq).
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                                              a.     whether Defendant misrepresented material facts concerning the
                            1
                            2                        Products on the label of every product;

                            3                 b.     whether Defendant’s conduct was unfair, misleading, and/or
                            4
                                                     deceptive;
                            5
                                              c.     whether Defendant has been unjustly enriched as a result of the
                            6
                                                     unlawful, fraudulent, and unfair conduct alleged in this
                            7
                            8                        Complaint such that it would be inequitable for Defendant to

                            9                        retain the benefits conferred upon it by Plaintiff and the Classes;
                            10
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                                              d.     whether Plaintiff and the Classes are entitled to equitable and/or
                            11
                                                     injunctive relief;
                            12
                            13                e.     whether Defendant breached warranties to Plaintiff and the

                            14                       Classes;

                            15                f.     whether Plaintiff and the Classes have sustained damages with
                            16
                                                     respect to the common-law claims asserted, and if so, the proper
                            17
                                                     measure of their damages.
                            18
                            19         76.    Plaintiff’s claims are typical of those of other Class Members because

                            20   Plaintiff, like all members of the Classes, purchased Defendant’s Products containing

                            21   the same Defect, and suffering from the same representations and omissions, and
                            22
                                 Plaintiff sustained damages from Defendant’s wrongful conduct.
                            23
                                       77.    Plaintiff will fairly and adequately protect the interests of the classes
                            24
                            25   and have retained counsel that is experienced in litigating complex class actions.

                            26   Plaintiff has no interests which conflict with those of the Classes.

                            27         78.    A class action is superior to any other available means for the fair and
                            28
                                 efficient adjudication of this controversy, and no unusual difficulties are likely to be
                                                                            – 18 –
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                                 encountered in the management of this class action. The damages or other financial
                            1
                            2    detriment suffered by Plaintiff and the other Class Members are relatively small

                            3    compared to the burden and expense that would be required to individually litigate
                            4
                                 their claims against Defendant, making it impracticable for Class Members to
                            5
                                 individually seek redress for Defendant’s wrongful conduct. Even if Class Members
                            6
                                 could afford individual litigation, the court system could not. Individualized litigation
                            7
                            8    creates a potential for inconsistent or contradictory judgments, and increases the

                            9    delay and expense to all parties and the court system. By contrast, the class action
                            10
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                                 device presents far fewer management difficulties, and provides the benefits of single
                            11
                                 adjudication, economies of scale, and comprehensive supervision by a single court.
                            12
                            13            79.   The prerequisites to maintaining a class action for equitable relief are

                            14   met as Defendant has acted or refused to act on grounds generally applicable to the

                            15   classes, thereby making appropriate equitable relief with respect to the classes as a
                            16
                                 whole.
                            17
                                          80.   The prosecution of separate actions by members of the classes would
                            18
                            19   create a risk of establishing inconsistent rulings and/or incompatible standards of

                            20   conduct for Defendant. For example, one court might enjoin Defendant from

                            21   performing the challenged acts, whereas another might not. Additionally, individual
                            22
                                 actions could be dispositive of the interests of the classes even where certain Class
                            23
                                 Members are not parties to such actions.
                            24
                            25            81.   For the purposes of this Complaint, the term “Class Members” refers to

                            26   all members of the Class, including the Plaintiff.

                            27            82.   This action is maintainable as a class action under Federal Rule of Civil
                            28
                                 Procedure Rule 23.
                                                                            – 19 –
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                                       83.       This Court should certify a class under Rule 23(b)(2) because Defendant
                            1
                            2    has acted or refused to act on grounds that apply generally to the Class, by making

                            3    illegal, unfair, misleading and deceptive representations and omissions regarding
                            4
                                 Products.
                            5
                                       84.       This Court should certify a class under Rule 23(b)(3) because the
                            6
                                 common issues identified above predominate over any questions affecting individual
                            7
                            8    members and a class is superior to other available methods to fairly and efficiently

                            9    adjudicate the claims.
                            10
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                                       85.       Notice to the Class. Plaintiff anticipates that this Court can direct
                            11
                                 notice to the Class, to be effectuated by publication in major media outlets and the
                            12
                            13   Internet.

                            14
                                                                          COUNT I
                            15
                                                   Violation of State Consumer Protection Statutes
                            16                         (On Behalf of the Multi-State Consumer Class)
                            17
                                       86.       Plaintiff repeats and realleges each and every allegation above as if set
                            18
                                 forth herein.
                            19
                                       87.       The Consumer Protection Acts of the States in the Multi-State
                            20
                                 Consumer Class prohibit the use of unfair or deceptive business practices in the
                            21
                                 conduct of trade or commerce.
                            22
                                       88.       Defendant intended that Plaintiff and the other members of the Multi-
                            23
                                 State Consumer Class would rely upon their deceptive conduct, and a reasonable
                            24
                                 person would in fact be misled by its deceptive conduct.
                            25
                                       89.       As a result of the Defendant’s use or employment of unfair or deceptive
                            26
                                 acts or business practices, Plaintiff, and other members of the Multi-State Consumer
                            27
                                 Class, have sustained damages in an amount to be proven at trial.
                            28

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                                                                           COUNT II
                            1
                                     Violation of California Business & Professions Code §§ 17200 et seq. –
                            2
                                                         Unlawful Conduct Prong of the UCL
                            3
                                                            (On Behalf of the California Class)
                            4
                                       90.    Plaintiff incorporates by reference all allegations contained in the
                            5
                                 complaint as if fully set forth herein.
                            6
                                       91.    The acts, omissions, misrepresentations and practices of Defendant
                            7
                                 constitute “unlawful” business acts and practices under the California Business &
                            8
                                 Professions Code section 17200 (“UCL”).
                            9
                                       92.    Defendant’s acts, omissions, misrepresentations and practices are
                            10
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                                 “unlawful” because they violate the California False Advertising Law (“FAL”), the
                            11
                                 Magnuson-Moss Warranty Act (“MMWA”) and the Consumer Legal Remedies Act
                            12
                                 (“CLRA”).
                            13
                                       93.    Defendant’s representations and omissions that the Products are non-
                            14
                                 toxic and safe are false, deceptive, and likely to deceive the public.
                            15
                                       94.    Defendant’s representations and omissions concerning the ingredients in
                            16
                                 the Products is false, deceptive, and likely to deceive the public.
                            17
                                       95.    Defendant’s deceptive advertising caused Plaintiff and members of the
                            18
                                 Class to suffer injury in fact and to lose money or property, as it denied them the
                            19
                                 benefit of the bargain when they decided to make their purchases over other products
                            20
                                 that are less expensive and without the harmful and dangerous effects of the
                            21
                                 Products.
                            22
                                       96.    In accordance with California Business & Professions Code section
                            23
                                 17203, Plaintiff seeks an order enjoining Defendant from continuing to conduct
                            24
                                 business through unfair acts and practices and to commence a corrective advertising
                            25
                                 campaign.
                            26
                                       97.    Plaintiff also seeks an order for the disgorgement and restitution of all
                            27
                                 monies from the sale of the Products that were unjustly acquired through acts of
                            28
                                 unlawful, unfair and/or fraudulent competition.
                                                                         – 21 –
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                                                                       COUNT III
                            1
                                     Violation of California Business & Professions Code §§ 17200, et seq. –
                            2
                                                Unfair and Fraudulent Conduct Prongs of the UCL
                            3
                                                            (On Behalf of the California Class)
                            4

                            5          98.     Plaintiff incorporates by reference all the allegations of the preceding
                            6    paragraphs.
                            7          99.     California Business & Professions Code section 17200 prohibits any
                            8    unfair or fraudulent business act or practice.
                            9          100.    The false and misleading marketing, advertising, and labeling of the
                            10   Products, as alleged herein, constitute unfair business acts and practices because
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                            11   such conduct is immoral, unscrupulous, and offends public policy.
                            12         101.    The acts, omissions, misrepresentations, practices, and non-disclosures
                            13   constitute “fraudulent” business acts and practices, because Defendant’s conduct is
                            14   false and misleading to Plaintiff and Class Members.
                            15         102.    Further, the gravity of Defendant’s conduct outweighs any conceivable
                            16   benefit of such conduct.
                            17         103.    Defendant’s advertising, communications, packaging, and marketing of
                            18   the Products is likely to deceive Class Members about their contents and safety.
                            19         104.    Defendant either knew or reasonably should have known that the claims
                            20   and statements in the advertising, marketing, and labeling were likely to deceive
                            21   consumers.
                            22         105.    In accordance with California Business & Professions Code section
                            23   17203, Plaintiff seeks an order enjoining Defendant from continuing to conduct
                            24   business through unfair and/or fraudulent acts and practices and to commence a
                            25   corrective advertising campaign.
                            26         106.    Plaintiff seeks an order for the disgorgement and restitution of all
                            27   monies from the sale of the Products that were unjustly acquired through acts of
                            28   unlawful, unfair and/or fraudulent competition.

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                                                                        COUNT IV
                            1
                                     Violation of California Business & Professions Code §§ 17500, et seq. –
                            2
                                                          False and Misleading Advertising
                            3
                                                            (On Behalf of the California Class)
                            4
                                       107.    Plaintiff incorporates by reference all preceding paragraphs.
                            5
                                       108.    California False Advertising Law (Cal. Business & Professions Code
                            6
                                 sections 17500 and 17508) prohibits “mak[ing] any false or misleading advertising
                            7
                                 claim.”
                            8
                                       109.    Defendant, in its advertising, marketing, and labeling of the Products,
                            9
                                 makes false and misleading advertising claims as it deceives consumers as to their
                            10
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                                 safety.
                            11
                                       110.    In reliance on these false and misleading advertising claims, Plaintiff
                            12
                                 and members of the Nationwide Class purchased and used the Products without the
                            13
                                 knowledge they contained toxins that caused, or greatly increased the risk of, serious
                            14
                                 injury or death, to users of the Products.
                            15
                                       111.    Defendant knew or should have known that its labeling, advertising,
                            16
                                 and marketing was likely to deceive consumers.
                            17
                                       112.    As a result, Plaintiff and the Class are entitled to injunctive and
                            18
                                 equitable relief, restitution, and an order for the disgorgement of the funds by which
                            19
                                 Defendant was unjustly enriched.
                            20
                            21
                                                                        COUNT V
                            22                Violation of California’s Consumers Legal Remedies Act
                            23                              CAL. CIV. CODE § 1750 et seq.
                            24                               (Seeking Injunctive Relief Only)
                            25                              (On Behalf of the California Class)

                            26         113.    Plaintiff incorporates by reference and re-alleges herein all paragraphs
                            27   alleged above.
                            28

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                            1          114.   Plaintiff brings this claim individually and on behalf of the members of
                            2    the proposed Classes against Defendant.
                            3          115.   This claim seeks injunctive relief only, pursuant to California Civil Code
                            4    section 1782(d).
                            5          116.   Defendant’s actions, representations, and conduct have violated, and
                            6    continue to violate, the CLRA because they extend to transactions that are intended
                            7    to result, or that have resulted, in the sale of goods to consumers.
                            8          117.   Plaintiff and the California Class members are “consumers” as the
                            9    CLRA defines that term in California Civil Code section 1761(d).
                            10         118.   Defendant sold the Products, which are “goods” within the meaning of
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                            11   California Civil Code section 1761(a), to Plaintiff and the California Class members.
                            12         119.   Defendant’s policies, acts, and practices were designed to, and did, result
                            13   in Plaintiff and the California Class members’ purchase and use of the Products
                            14   primarily for personal, family, or household purposes, and violated and continue to
                            15   violate the following sections of the California Civil Code section 1770:
                            16                a.     section 1770(a)(5), which prohibits representing that goods or
                            17                       services have sponsorship, approval, characteristics, ingredients,
                            18                       uses, benefits, or quantities which they do not have;
                            19                b.     section 1770(a)(7), which prohibits representing that goods or
                            20                       services are of a particular standard, quality, or grade, or that
                            21                       goods are of a particular style or model, if they are of another;
                            22                c.     section 1770(a)(9), which prohibits advertising goods or services
                            23                       with intent not to sell them as advertised; and
                            24                d.     section 1770(a)(16), which prohibits representing that the subject
                            25                       of a transaction has been supplied in accordance with a previous
                            26                       representation when it has not.
                            27         120.   Defendant’s advertising, labeling, and marketing of the Products are
                            28   likely to deceive reasonable consumers, including Plaintiff and the California Class

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                            1    members. Defendant’s representations and omissions that the Products are adequate
                            2    and safe are false and likely to deceive the public, as is Defendant’s failure to mention
                            3    the numerous adverse events related to their usage.
                            4          121.   Plaintiff and the California Class members would not have purchased
                            5    the Products absent Defendant’s misleading and deceptive marketing campaign and
                            6    labeling regarding the safety of the Products.
                            7          122.   Defendant knew or should have known that its Products’ advertising,
                            8    labeling, and marketing were likely to deceive reasonable consumers regarding the
                            9    safety of the Products.
                            10         123.   Defendant’s deceptive representations and omissions about the Products
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                            11   caused Plaintiff and the members of the California Class to suffer injury in fact and
                            12   to lose money or property, as it denied them the benefit of the bargain when they
                            13   decided to make their Product purchases over other products that are less expensive
                            14   and without the harmful and dangerous contents of the Products.
                            15         124.   Plaintiff and the California Class members request that this Court
                            16   enjoin Defendant from continuing to employ the unlawful methods, acts, and
                            17   practices alleged herein pursuant to California Civil Code section 1780(a)(2). If
                            18   Defendant is not restrained from engaging in these types of practices in the future,
                            19   Plaintiff and the California Class members will be harmed in that they will continue
                            20   to be unable to rely on Defendant’s deceptive representations and omissions
                            21   regarding the contents and safety of the Products.
                            22                                          COUNT VI
                            23                                Breach of Implied Warranty
                            24                             (On Behalf of the Nationwide Class)
                            25         125.   Plaintiff incorporates by reference and re-allege herein all paragraphs
                            26   alleged above.
                            27         126.   Plaintiff brings this claim individually and on behalf of the members of
                            28   the proposed Classes against Defendant.

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                            1          127.   Defendant, as the manufacturer, marketer, distributor, and/or seller of
                            2    the Products, impliedly warranted that the Products (i) would not contain toxins and
                            3    (ii) was generally safe for consumer use.
                            4          128.   Defendant breached the warranty implied in the contract for the sale of
                            5    the defective Products because it could not pass without objection in the trade under
                            6    the contract description, the Products were not of fair or average quality within the
                            7    description, and the Products were unfit for its intended and ordinary purpose
                            8    because the Products were defective in that it contained ingredients that made the
                            9    Products unreasonably dangerous, and as such is not generally recognized as safe for
                            10   consumer use. As a result, Plaintiff and Class Members did not receive the goods as
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                            11   impliedly warranted by Defendant to be merchantable.
                            12         129.   Defendant was on notice of the presence of toxins because it has
                            13   exclusive knowledge of the Products’ contents.
                            14         130.   Additionally, Plaintiff sent notice of these breaches to the retailer.
                            15         131.   Plaintiff and Class Members purchased the Products in reliance upon
                            16   Defendant’s skill and judgment and the implied warranties of fitness for the purpose.
                            17         132.   The Products were not altered by Plaintiff or Class Members.
                            18         133.   The Products were nonconforming and defective when they left the
                            19   exclusive control of Defendant.
                            20         134.   Defendant knew that the Products would be purchased and used without
                            21   additional testing by Plaintiff and Class Members.
                            22         135.   The Products contained dangerous, undisclosed ingredients and were
                            23   unfit for their intended purpose, and Plaintiff and Class Members did not receive the
                            24   goods as warranted.
                            25         136.   Privity is not required as to Defendant because the Products contained a
                            26   dangerous toxin. As the known end purchaser, Plaintiff is also a third-party
                            27   beneficiary of the implied warranty of merchantability.
                            28

                                                                             – 26 –
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                            1            137.   Defendant’s attempts to disclaim or limit the implied warranty of
                            2    merchantability vis-à-vis consumers are unconscionable and unenforceable.
                            3    Specifically, Defendant’s warranty limitations are unenforceable because Defendant
                            4    knowingly sold a defective product without informing consumers about the toxins.
                            5            138.   A gross disparity in bargaining power existed between Defendant and
                            6    Class Members, as only Defendant knew or should have known that the Products
                            7    contained toxins at the time of sale and that the devices were not of merchantable
                            8    quality.
                            9            139.   As a direct and proximate cause of Defendant’s breach of the implied
                            10   warranty, Plaintiff and Class Members have been injured and harmed because: (a)
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                            11   they would not have purchased the Products on the same terms if they knew that the
                            12   Products contained the toxins, making it unsafe for consumer use; and (b) the
                            13   Products do not have the characteristics, uses, or benefits as promised by Defendant.
                            14                                           COUNT VII
                            15                      Violation Of The Magnuson-Moss Warranty Act,
                            16                                    15 U.S.C. §§ 2301, et seq.
                            17                               (On Behalf of the Nationwide Class)
                            18           140.   Plaintiff incorporates by reference and re-allege herein all paragraphs
                            19   alleged above.
                            20           141.   Plaintiff brings this claim individually and on behalf of the members of
                            21   the proposed Classes against Defendant.
                            22           142.   The Products are consumer products as defined in 15 U.S.C. § 2301.
                            23           143.   Plaintiff and the Class Members are consumers as defined in 15 U.S.C. §
                            24   2301.
                            25           144.   Defendant is a supplier and warrantor as defined in 15 U.S.C. § 2301.
                            26           145.   In connection with the marketing and sale of the Products, Defendant
                            27   impliedly warranted that the Products was fit for use. The Products were not fit for
                            28   use due to the presence of toxic substances described in the allegations above.

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                            1          146.   By reason of Defendant’s breach of warranties, Defendant violated the
                            2    statutory rights due to Plaintiff and the Class Members pursuant to the Magnuson-
                            3    Moss Warranty Act, 15 U.S.C. §§ 2301, et seq., thereby damaging Plaintiff and the
                            4    Class Members.
                            5          147.   Plaintiff and the Class Members were injured as a direct and proximate
                            6    result of Defendant’s breach because they would not have purchased the Products if
                            7    they knew the truth about the toxic nature of the Products.
                            8          148.   Despite notice by Plaintiff and the Class Members to Defendant of the
                            9    toxic nature of the Products, Defendant did not replace or repair the defective
                            10   Products. Instead, the costs of the defects were borne by consumers.
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                            11         149.   As a direct and proximate result of Defendant’s breach of implied
                            12   warranties pursuant to 15 U.S.C. § 2310(d)(1), Plaintiff and Class Members have
                            13   suffered damages in an amount to be proven at trial.
                            14         150.   The amount in controversy for the Plaintiff’s and Class Members’
                            15   individual claims meets or exceeds the sum of $25. The total amount in controversy of
                            16   this action in sum exceeds $50,000, exclusive of interest and costs, computed on the
                            17   basis of all claims to be determined in this lawsuit.
                            18         151.   Plaintiff and Class Members are entitled to recover damages as a result
                            19   of Defendant’s breach of warranties.
                            20         152.   Plaintiff and Class Members are also entitled to seek costs and expenses,
                            21   including attorneys’ fees, under the MMWA. 15 U.S.C. § 2310(d)(2).
                            22
                                                                      COUNT VIII
                            23
                                                                  Unjust Enrichment
                            24
                                                           (On Behalf of the Nationwide Class)
                            25
                                       153.   Plaintiff incorporates by reference and re-alleges herein all paragraphs
                            26
                                 alleged above.
                            27
                            28

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                            1          154.   Plaintiff brings this claim individually and on behalf of the members of
                            2    the proposed Classes against Defendant.
                            3          155.   “Although there are numerous permutations of the elements of the
                            4    unjust enrichment cause of action in the various states, there are few real differences.
                            5    In all states, the focus of an unjust enrichment claim is whether the defendant was
                            6    unjustly enriched. At the core of each state’s law are two fundamental elements—the
                            7    defendant received a benefit from the plaintiff and it would be inequitable for the
                            8    defendant to retain that benefit without compensating the plaintiff. The focus of the
                            9    inquiry is the same in each state.” In re Mercedes-Benz Tele Aid Contract Litig., 257
                            10   F.R.D. 46, 58 (D.N.J. Apr. 24, 2009) (quoting Powers v. Lycoming Engines, 245 F.R.D.
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                            11   226, 231 (E.D. Pa. 2007)).
                            12         156.   At all times relevant hereto, Defendant deceptively marketed,
                            13   advertised, and sold merchandise to Plaintiff and the Classes.
                            14         157.   The Products purchased by Plaintiff and the Class Members did not
                            15   provide the promised performance and instead contained toxic substances.
                            16         158.   Plaintiff and Class Members conferred a benefit on Defendant by
                            17   purchasing the Products and by paying a price premium for them.
                            18         159.   Defendant has knowledge of such benefits.
                            19         160.   Defendant has been unjustly enriched in retaining the revenues derived
                            20   from Plaintiff’s and Class Members’ purchases of the Product, which retention under
                            21   these circumstances is unjust and inequitable because Defendant misrepresented
                            22   that the Product (i) would not contain toxic substances and (ii) is generally recognized
                            23   as safe. This misrepresentation caused injuries to Plaintiff and Class Members
                            24   because they would not have purchased the Products if the true facts regarding the
                            25   Products were known.
                            26         161.   Because Defendant’s retention of the non-gratuitous benefit conferred on
                            27   it by Plaintiff and Class Members is unjust and inequitable, Defendant must pay
                            28

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                            1    restitution to Plaintiff and the Class Members for their unjust enrichment, as ordered
                            2    by the Court.
                            3                                   PRAYER FOR RELIEF
                            4          WHEREFORE, Plaintiff, on behalf of themselves and other members of the
                            5    proposed Class herein, prays for judgment and relief on all of the legal claims as
                            6    follows:
                            7
                                       A.     Certification of the Class, certifying Plaintiff as representatives of the
                            8
                                              Class, and designating Plaintiff’s counsel for the Class;
                            9
                                       B.     A declaration that Defendant has committed the violations alleged
                            10                herein;
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                            11
                                       C.     A declaration that Defendant has committed that Defendant’s actions
                            12                are fraudulent, deceptive, and misleading as alleged herein;

                            13         D.     For restitution and disgorgement pursuant to, without limitation, the
                                              California Business & Professions Code §§ 17200, et seq. and Cal Civ.
                            14
                                              Code § 1780;
                            15
                                       E.     For declaratory and injunctive relief pursuant to, without limitation, the
                            16                California Business & Professions Code §§ 17200, et seq. and 17500, et
                                              seq.;
                            17
                            18         F.     An award of compensatory damages, the amount of which is to be
                                              determined at trial;
                            19
                            20         G.     For punitive damages;

                            21         H.     For interest at the legal rate on the foregoing sums;

                            22         I.     For statutory damages;
                            23
                                       J.     For attorneys’ fees;
                            24
                                       K.     For costs of suit incurred; and
                            25
                            26         L.     For such further relief as this Court may deem just and proper.

                            27
                                                                JURY TRIAL DEMAND
                            28
                                       Plaintiff demands a jury trial on all causes of action so triable.
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                            1    Dated: November 22, 2022
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                            2
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                            18                                     Counsel for Plaintiff and the Proposed
                                                                   Classes
                            19
                            20
                            21
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         EXHIBIT A
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The safety notice from The Laundress covers products listed in the table below with the following lot
codes:
    •   9-digit code starting with a letter: Last four digits are in the range of 1001-2259
    •   9-digit code starting with a number: First five digits are in the range of 21001-22259

Item Description                           UPC            Size / Contents

Number 10 Detergent Packet                 None           0.5 fl oz
Fabric Conditioner Baby Packet             857060005229   0.5 fl oz
Baby Detergent Packet                      857060005205   0.5 fl oz
All Purpose Bleach Alternative Packet      None           0.5 fl oz
Fabric Conditioner Classic Paquette        857060005236   0.5 fl oz
Delicate Lady Wash Packet                  None           0.5 fl oz
Denim Wash Packet                          857060005212   0.5 fl oz
Le Labo Rose 31 Packet                     857060005304   0.5 fl oz
Le Labo Santal 33 Packet                   857060005298   0.5 fl oz
Signature Detergent Classic Packet         857060005168   0.5 fl oz
Sport Detergent Packet                     857060005274   0.5 fl oz
Stain Solution Packet                      857060005175   0.5 fl oz
Wool & Cashmere Packet                     857060005199   0.5 fl oz
#723 Detergent 2 oz                        858114008869   2 fl oz
Artisan Detergent 2 oz                     858114008883   2 fl oz
John Mayer Way Out West 2 fl oz            858114008760   2 fl oz
Kith Signature Detergent 2oz               None           2 fl oz
Baby Detergent 2 oz                        859675001238   2 fl oz
Fabric Conditioner Baby 2 fl oz            None           2 fl oz
Wool & Cashmere Shampoo 2 fl oz            859675001252   2 fl oz
All Purpose Cleaning Concentrate 2oz       858114008777   2 fl oz
Isle Detergent 2 fl oz                     858114008814   2 fl oz
Delicate Lady Wash 2 fl oz                 859675001245   2 fl oz
Signature Detergent Classic 2 fl oz        858114008357   2 fl oz
Number 10 Detergent 2 oz                   858114008876   2 fl oz
Stain Solution 2 fl oz                     859675001320   2 fl oz
Denim Wash 2 fl oz                         859675001955   2 fl oz
Sport Detergent 2oz                        857060005052   2 fl oz
John Mayer Out West Detergent 2 fl oz      None           2 fl oz
Le Labo Rose Signature Detergent 2 fl oz   850041104096   2 fl oz
#723 Detergent 8 fl oz                     858114008418   8 fl oz
Artisan Detergent 8 oz                     858114008654   8 fl oz
Wool & Cashmere Shampoo 8 fl oz            858114008708   8 fl oz
Surface Cleaner 8 fl oz                    858114008951   8 fl oz
Dish Detergent 8 fl oz                     858114008982   8 fl oz
Glass & Mirror Cleaner 8 fl oz             858114008968   8 fl oz
Delicate Lady Wash 8 fl oz                 858114008692   8 fl oz
Signature Detergent Classic 8 fl oz        858114008678   8 fl oz
Stain Solution 8 fl oz                     858114008685   8 fl oz
#723 Fabric Conditioner 16 fl oz           858114008531   16 fl oz
Wool & Cashmere Shampoo 16 fl oz           859675001054   16 fl oz
Glass & Mirror Cleaner 16 fl oz            859675001207   16 fl oz
Summer Fridays Detergent 16oz              850041104065   16 fl oz
Fresh Wash Signature Detergent 32 fl oz    857060005922   32 fl oz
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Baby Detergent 32 fl oz                     859675001030     32 fl oz
Unscented Baby Detergent 32 oz              859675001665     32 fl oz
Baby Detergent Unscented 32 fl oz           857060005076     32 fl oz
Isle Detergent 32 fl oz                     857060005922     32 fl oz
Unscented/Fragrance-Free Detergent 32 fl 858114008838        32 fl oz
oz
Signature Detergent Classic 32oz            859675001009     32 fl oz
Whites Detergent 32 fl oz                   859675001016     32 fl oz
Darks Detergent 32 fl oz                    859675001023     32 fl oz
Surface Cleaner - Flexpack 64 oz.           858114008517     64 fl oz
Dish Detergent - Flexpack 64 oz.            858114008500     64 fl oz
Signature Detergent Classic- Flexpack 64    858114008487     64 fl oz
oz.
Sport Detergent Flexpack 64 oz.             858114008494     64 fl oz
Baby Detergent Gallon                       857060005953     128 fl oz
Signature Detergent Classic Gallon          857060005960     128 fl oz
#723 Detergent 16 fl oz                     858114008401     16 fl oz
Fresh Wash Fabric Conditioner 16 fl oz      857060005939     16 fl oz
Artisan Detergent 16 oz                     858114008623     16 fl oz
Fabric Conditioner Baby 16 fl oz            859675001597     16 fl oz
Aromatherapy Associates Deep Relax          642498015014     16 fl oz
Signature Detergent 16 fl oz
Aromatherapy Associates Forest Therapy 642498015007          16 fl oz
Signature Detergent 16 fl oz
Surface Cleaner 16 fl oz                    859675001719     16 fl oz
All Purpose Cleaning Concentrate 16 fl oz 859675001689       16 fl oz
Dish Detergent 16 fl oz                     859675001887     16 fl oz
John Mayer Out West Detergent 16 fl oz      857060005632     16 fl oz
John Mayer Way Out West Detergent 16 fl 858114008746         16 fl oz
oz
Kith Signature Detergent 16 fl oz           858114008920     16 fl oz
Delicate Lady Wash 16 fl oz                 859675001047     16 fl oz
Le Labo Rose Signature Detergent 16 fl oz 859675001696       16 fl oz
Le Labo Santal Signature Detergent 16 fl oz 859675001986     16 fl oz
Unscented/Fragrance-Free Detergent 16 fl 859675001504        16 fl oz
oz
Jenni Kayne Signature Detergent 16 fl oz    None             16 fl oz
Number 10 Detergent 16 fl oz                857060005045     16 fl oz
Number 10 Fabric Conditioner 16 fl oz       857060005038     16 fl oz
Fabric Conditioner Classic 16 fl oz         859675001061     16 fl oz
Denim Wash 16 fl oz                         859675001580     16 fl oz
Stain Solution 16 fl oz                     859675001603     16 fl oz
Sport Detergent 16 fl oz                    859675001917     16 fl oz
Aromatherapy Associates Support Breathe 642498015021         16 fl oz
Surface Cleaner 16 fl oz
Aromatherapy Associates Support Breathe 642498015038         16 fl oz
Dish Detergent 16 fl oz
Summer Fridays Detergent 16oz               850041104065     16 fl oz
The Laundress & Peruvian Connection         None             16 fl oz
Luxury Fibre Wash 16 oz
The Laundress & Peruvian Connection         None             2 fl oz
Luxury Fibre Wash 2 oz
Kits and Bundles that contain the impacted products above:
All Purpose Bleach Alternative & Cleaning   None             All Purpose Bleach Alternative 32 fl oz, All Purpose Cleaning
Concentrate Duo                                              Concentrate 16 fl oz
Ultimate Stain Solving Kit                  None             All Purpose Bleach Alternative 32 fl oz, Stain Solution 16 fl oz
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Stain Removal Essentials                    None           All Purpose Bleach Alternative 32 fl oz, Stain Solution 16 fl oz, Stain
                                                           Brush, Wash & Stain Bar
John Mayer Out West Detergent and Fabric None              All Purpose Bleach Alternative 32 fl oz, Stain Solution 16 fl oz, Wash
Fresh Boxed Gift Set                                       & Stain Bar, Stain Brush
Home Cleaning Best Seller Kit            None              All Purpose Bleach Alternative 32 fl oz, Surface Cleaner 16 fl oz,
                                                           Glass & Mirror Cleaner 16 fl oz, Scented Vinegar 16 fl oz
All Purpose Cleaning Concentrate Duo        859675001689   All Purpose Cleaning Concentrate 16 fl oz x2
All Purpose Cleaning Concentrate Bulk (6    859675001689   All Purpose Cleaning Concentrate 16 fl oz x6
units)
All Purpose Cleaning Concentrate 16 fl oz   None           All Purpose Cleaning Concentrate 16 fl oz, Glass Spray Bottle
with Glass Bottle
Spring Cleaning Bundle                      None           All Purpose Cleaning Concentrate 16 fl oz, Scented Vinegar 16 fl oz,
                                                           All Purpose Bleach Alternative 32 fl oz, Signature Detergent 32 fl oz,
                                                           Stain Solution 16 fl oz, Stain Brush
Aromatherapy Associates Deep Relax &        None           Aromatherapy Associates Deep Relax Detergent 16 fl oz,
Forest Therapy Boxed Gift Set                              Aromatherapy Associates Forest Therapy Detergent 16 fl oz
Aromatherapy Associates Full Collection     None           Aromatherapy Associates Forest Therapy Detergent 16 fl oz, Deep
                                                           Relax Detergent 16 fl oz, Support Breathe Dish Detergent 16 fl oz,
                                                           Support Breathe Surface Cleaner 16 fl oz
Aromatherapy Associates Support Breathe None               Aromatherapy Associates Support Breathe Surface Cleaner 16 fl oz,
Surface Cleaner & Dish Detergent Duo                       Aromatherapy Associates Support Breathe Dish Detergent 16 fl oz
Artisan Detergent and Candle Boxed Gift     None           Artisan Detergent 16 fl oz, Artisan Candle
Set
Baby Detergent Duo                          859675001030   Baby Detergent 32 fl oz x2
Baby Detergent 32 fl oz Bulk (6 Units)      859675001030   Baby Detergent 32 fl oz x6
Baby Detergent & Fabric Conditioner Duo     None           Baby Detergent 32 fl oz, Baby Fabric Conditioner 16 fl oz
New Parent Kit                              None           Baby Detergent 32 fl oz, Baby Fabric Conditioner 16 fl oz, Baby
                                                           Fabric Fresh 4 fl oz, All Purpose Bleach Alternative 32 fl oz, Stain
                                                           Solution 16 fl oz
Baby Detergent & Fabric Fresh Duo           None           Baby Detergent 32 fl oz, Baby Fabric Fresh 4 fl oz
Fabric Conditioner Baby Duo                 859675001597   Baby Fabric Conditioner 16 fl oz x2
Fabric Conditioner- Baby Bulk (6 Units)     859675001597   Baby Fabric Conditioner 16 fl oz x6
On the Spot Holiday Edition                 None           Classic Fabric Fresh 2 fl oz, Crease Release 2 fl oz, Static Solution 2 fl
                                                           oz, Holiday Wash & Stain Bar, Stain Solution 2 fl oz, Gift Bag
On The Spot Kit                             859675001542   Classic Fabric Fresh 2 fl oz, Crease Release 2 fl oz, Static Solution 2 fl
                                                           oz, Wash & Stain Bar, Stain Solution Packet 2 fl oz, Stain Solution
                                                           Packet 2 fl oz
Denim Wash & Fabric Fresh Classic Duo       None           Classic Fabric Fresh 8 fl oz, Denim Wash 16 fl oz
Darks Detergent Duo                         859675001023   Darks Detergent 32 fl oz x2
Darks Detergent Bulk (6 Units)              859675001023   Darks Detergent 32 fl oz x6
Darks Detergent & Fabric Fresh Duo          None           Darks Detergent 32 fl oz, Classic Fabric Fresh 8 fl oz
Darks Detergent & Fabric Conditioner Duo    None           Darks Detergent 32 fl oz, Fabric Conditioner Classic 16 fl oz
Delicate Kit Holiday Edition                None           Delicate Spray 4 fl oz, Delicate Wash 16 fl oz, Mesh Bag Bundle,
                                                           Holiday Wash & Stain Bar
Delicate Wash Duo                           859675001047   Delicate Wash 16 fl oz x2
Delicate Wash Bulk (6 Units)                859675001047   Delicate Wash 16 fl oz x6
Delicate Wash & Spray Duo                   None           Delicate Wash 16 fl oz, Delicate Spray 4 fl oz
Delicate Kit                                None           Delicate Wash 16 fl oz, Delicate Spray 4 fl oz, Wash & Stain Bar,
                                                           Mesh Bag Bundle
Delicate Wash & Mesh Washing Bag Duo        None           Delicate Wash 16 fl oz, Mesh Bag Bundle
Clean Clutch                                None           Delicate Wash 2 fl oz, Stain Solution 2 fl oz, Classic Fabric Fresh 2 fl
                                                           oz, Crease Release 2 fl oz
Denim Wash Bulk (6 Units)                   859675001580   Denim Wash 16 fl oz x6
Denim Kit                                   None           Denim Wash 16 fl oz, Classic Fabric Fresh 8 fl oz, Stain Solution 16 fl
                                                           oz, Mesh Bag Bundle
Denim Gift Bag                              None           Denim Wash 16 fl oz, Stain Solution 16 fl oz, Classic Fabric Fresh 8 fl
                                                           oz, Gift Bag
Dish Detergent Bulk (6 Units)               859675001887   Dish Detergent 16 fl oz x6
Dish Detergent Duo                          859675001887   Dish Detergent 16 fl oz, Dish Detergent 16 fl oz
Kitchen Clean Duo                           None           Dish Detergent 16 fl oz, Kitchen Soap Bar
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Dish Detergent Flex Pack with 16 oz Glass     None           Dish Detergent Flex Pack 64 fl oz, Glass Pump Bottle
Pump
Fabric Conditioner Classic Duo                859675001061   Fabric Conditioner Classic 16 fl oz x2
Fabric Conditioner Bulk (6 units)             859675001061   Fabric Conditioner Classic 16 fl oz x6
Scent Discovery Kit                           None           Gift Bag, Artisan Detergent 2 fl oz, Isle Detergent 2 fl oz, Signature
                                                             Detergent 2 fl oz, No. 723 Detergent 2 fl oz, No. 10 Detergent 2 fl
                                                             oz, Baby Detergent 2 fl oz
Glass and Mirror Cleaner Duo                  859675001207   Glass & Mirror Cleaner 16 fl oz x2
Glass & Mirror Cleaner 16 fl oz Bulk (6       859675001207   Glass & Mirror Cleaner 16 fl oz x6
units)
Holiday Make Messes                           None           Holiday Wash & Stain Bar, All Purpose Bleach Alternative 32 fl oz,
                                                             Stain Brush, Stain Solution 16 fl oz
Mini Dry Clean Kit with Holiday Bar           None           Holiday Wash & Stain Bar, Classic Fabric Fresh 2 fl oz, Stain Solution
                                                             2 fl oz, Wool & Cashmere Shampoo 2 fl oz, Delicate Wash 2 fl oz,
                                                             Gift Bag
Dry Cleaning Detox Kit Holiday Edition        None           Holiday Wash & Stain Bar, Mesh Bag Bundle, Wool & Cashmere
                                                             Shampoo 16 fl oz, Delicate Wash 16 fl oz
Travel Pack                                   859675001337   Hotel Laundry Bag, Crease Release 2 fl oz, Classic Fabric Fresh 2 fl
                                                             oz, Delicate Wash 2 fl oz, Stain Solution 2 fl oz, Gift Bag
Isle Signature Detergent 32 oz                857060005922   Isle Detergent 32 fl oz x6
Isle Signature Detergent and Fabric Fresh     None           Isle Detergent 32 fl oz, Isle Fabric Fresh 8 fl oz
John Mayer Out West Detergent and Fabric      None           John Mayer Out West Fabric Fresh 8 fl oz, John Mayer Out West
Fresh Duo                                                    Deteregent 16 fl oz
John Mayer Way Out West Detergent and         None           John Mayer Way Out West Deteregent 16 fl oz, John Mayer Way
Fabric Fresh Duo                                             Out West Fabric Fresh 8 fl oz
Le Labo Rose and Le Labo Santal Duo           None           Le Labo Rose Detergent 16 fl oz, Le Labo Santal Detergent 16 fl oz
Gift Set Le Labo Rose and Le Labo Santal      None           Le Labo Santal Detergent 16 fl oz, Le Labo Rose Detergent 16 fl oz
Spotless Kit                                  None           Lint-Free Cleaning Cloths, Surface Cleaner 16 fl oz, Scented Vinegar
                                                             16 fl oz
Dry Cleaning Detox Kit                        None           Mesh Bag Bundle, Wool & Cashmere Shampoo 16 fl oz, Delicate
                                                             Wash 16 fl oz, Wash & Stain Bar
Number 10 Gift Set Detergent and              None           No. 10 Detergent 16 fl oz, No. 10 Fabric Conditioner 16 fl oz
Conditioner Duo
Number 10 Detergent and Conditioner           None           No. 10 Detergent 16 fl oz, No. 10 Fabric Conditioner 16 fl oz
Boxed Gift Set
Number 10 Kit                                 None           No. 10 Fabric Fresh 8 fl oz, No. 10 Fabric Conditioner 16 fl oz, No. 10
                                                             Detergent 16 fl oz
723 Detergent Bulk (6 units)                  858114008401   No. 723 Detergent 16 fl oz x6
723 Detergent and Conditioner Duo             None           No. 723 Detergent 16 fl oz, No. 723 Fabric Conditioner 16 fl oz
723 Gift Set Detergent and Conditioner        None           No. 723 Detergent 16 fl oz, No. 723 Fabric Conditioner 16 fl oz
Boxed Gift Set
723 Collection                                None           No. 723 Detergent 16 fl oz, No. 723 Fabric Conditioner 16 fl oz, No.
                                                             723 Fabric Fresh 8 fl oz
723 Gift Set Detergent and Fabric Fresh       None           No. 723 Detergent 16 fl oz, No. 723 Fabric Fresh 8 fl oz
Boxed Gift Set
Scented Vinegar & Dish Detergent Duo          None           Scented Vinegar 16 fl oz, Dish Detergent 16 fl oz
Pet Mess Kit                                  None           Scented Vinegar 16 fl oz, Stain Brush, Stain Solution 16 fl oz
Home Cleaning Starter Kit                     None           Scented Vinegar 8 fl oz, Surface Cleaner 8 fl oz, Dish Detergent 8 fl
                                                             oz, Glass & Mirror Cleaner 8 fl oz
Home Cleaning Starter Kit - Holiday 2022      850041104188   Scented Vinegar 8 fl oz, Surface Cleaner 8 fl oz, Dish Detergent 8 fl
                                                             oz, Glass & Mirror Cleaner 8 fl oz
Signature Detergent Duo                       859675001009   Signature Detergent 32 fl oz x2
Signature Detergent 32 fl oz Bulk (6 Units)   859675001009   Signature Detergent 32 fl oz x6
Clean Break Kit                               None           Signature Detergent 32 fl oz, All Purpose Bleach Alternative 32 fl oz,
                                                             Surface Cleaner 16 fl oz, Scented Vinegar 16 fl oz
Best Sellers Kit                              None           Signature Detergent 32 fl oz, Delicate Wash 16 fl oz, Sport
                                                             Detergent 16 fl oz, Wool & Cashmere Shampoo 16 fl oz
Signature Detergent & Fabric Conditioner      None           Signature Detergent 32 fl oz, Fabric Conditioner Classic 16 fl oz
Duo
Everyday Laundry Kit                          None           Signature Detergent 32 fl oz, Stain Solution 16 fl oz, All Purpose
                                                             Bleach Alternative 32 fl oz, Classic Fabric Fresh 8 fl oz, Stain Brush
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The Pit Kit                                  None           Signature Detergent 32 fl oz, Stain Solution 16 fl oz, All Purpose
                                                            Bleach Alternative 32 fl oz, Stain Brush
Holiday Gift Kit 2022                        850041104157   Signature Detergent 8 fl oz, Stain Solution 2 fl oz, Delicate Wash 2 fl
                                                            oz, Wool & Cashmere Shampoo 2 fl oz
Signature Detergent Flex Pack with 32 oz     None           Signature Detergent Flex Pack 64 fl oz, Signature Detergent 32 fl oz
Signature
Sport Detergent Duo                          859675001917   Sport Detergent 16 fl oz x2
Sport Detergent 16 oz Bulk (6 units)         859675001917   Sport Detergent 16 fl oz x6
Sport Detergent & Spray Duo                  None           Sport Detergent 16 fl oz, Sport Spray 4 fl oz
Sport Kit                                    None           Sport Detergent 16 fl oz, Sport Spray 4 fl oz, Mesh Bag Bundle, Wash
                                                            & Stain Bar
Sport Detergent Refill Duo                   None           Sport Detergent Flex Pack 64 fl oz, Sport Detergent 16 fl oz
The Skimm Laundry Bundle                     None           Stain Brush, Signature Detergent 32 fl oz, Fabric Conditioner Classic
                                                            16 fl oz, Stain Solution 16 fl oz
Stain Solution Duo                           859675001603   Stain Solution 16 fl oz x2
Stain Solution Bulk (6 units)                859675001603   Stain Solution 16 fl oz x6
Today Show Bundle 2020                       None           Stain Solution 16 fl oz, Sport Detergent 16 fl oz, Wool & Cashmere
                                                            Shampoo 16 fl oz, Delicate Wash 16 fl oz
Clean Collar Duo                             None           Stain Solution 16 fl oz, Wash & Stain Bar
Make Messes Kit                              None           Stain Solution 16 fl oz, Wash & Stain Bar, All Purpose Bleach
                                                            Alternative 32 fl oz
Winter Travel Trio                           None           Stain Solution 2 fl oz, Wool & Cashmere Shampoo 2 fl oz, Signature
                                                            Detergent 2 fl oz
Surface Cleaner Duo                          859675001719   Surface Cleaner 16 fl oz x2
Surface Cleaner Bulk (6 units)               859675001719   Surface Cleaner 16 fl oz x6
Little Laundress Kit                         None           Surface Cleaner 16 fl oz, Glass & Mirror Cleaner 16 fl oz, Dish
                                                            Detergent 16 fl oz, Scented Vinegar 16 fl oz
Surface Cleaner Flex Pack with 16 oz Glass   None           Surface Cleaner Flex Pack 64 fl oz, Glass Spray Bottle
Bottle
Unscented/Fragrance-Free Detergent 16 fl     859675001504   Unscented/Fragrance-Free Detergent 16 fl oz x6
oz Bulk (6 units)
Unscented/Fragrance-Free Detergent 32 oz     858114008838   Unscented/Fragrance-Free Detergent 32 fl oz x6
Bulk (6 units)
Dry Clean On-The-Go Kit                      None           Wash & Stain Bar, Classic Fabric Fresh 2 fl oz, Stain Solution 2 fl oz,
                                                            Wool & Cashmere Shampoo 2 fl oz, Delicate Wash 2 fl oz, Gift Bag
Laundry Essentials Pack                      None           Wash & Stain Bar, Delicate Wash 2 fl oz, Classic Fabric Fresh 2 fl oz,
                                                            Wool & Cashmere Shampoo 2 fl oz, Stain Solution 2 fl oz, Gift Bag
The Laundress Welcome Kit                    None           Wash & Stain Bar, Signature Detergent 2 fl oz, Classic Fabric Fresh 2
                                                            fl oz, Crease Release 2 fl oz
Whites Detergent Duo                         859675001016   Whites Detergent 32 fl oz x2
Whites Detergent 32 fl oz Bulk (6 units)     859675001016   Whites Detergent 32 fl oz x6
Brighten Up Duo                              None           Whites Detergent 32 fl oz, All Purpose Bleach Alternative 32 fl oz
Whites and Darks Duo                         None           Whites Detergent 32 fl oz, Darks Detergent 32 fl oz
Seasonal Whites Detergent and Fabric         None           Whites Detergent 32 fl oz, Fabric Conditioner Classic 16 fl oz
Conditioner Duo
Wool & Cashmere Shampoo 16 fl oz Bulk (6     859675001054   Wool & Cashmere Shampoo 16 fl oz x6
units)
Wool and Cashmere Kit                        None           Wool & Cashmere Shampoo 16 fl oz, Stain Solution 16 fl oz, Wool &
                                                            Cashmere Spray 4 fl oz, Sweater Comb
Wool & Cashmere Shampoo & Wool &             None           Wool & Cashmere Shampoo 16 fl oz, Wool & Cashmere Spray 4 fl
Cashmere Spray Duo                                          oz
Wool and Cashmere Kit                        None           Wool & Cashmere Shampoo 16 fl oz, Wool & Cashmere Spray 4 fl
                                                            oz, Mesh Bag Bundle
The Laundress Starter Kit                    None           Wool & Cashmere Shampoo 8 fl oz, Delicate Wash 8 fl oz, Signature
                                                            Detergent 8 fl oz, Stain Solution 8 fl oz
Laundry Starter Kit - Holiday 2022           850041104195   Wool & Cashmere Shampoo 8 fl oz, Delicate Wash 8 fl oz, Signature
                                                            Detergent 8 fl oz, Stain Solution 8 fl oz
